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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

        Plaintiff,
                v.                                     Civil Action No. 20-3590 (JEB)


 META PLATFORMS, INC.,

        Defendant.


                                            ORDER

      Having reviewed the parties’ latest [392] Joint Status Report, the Court ORDERS that:

      1. There is no need yet for the Court to set deadlines for the parties’ responses regarding

          proposed joint stipulations; however, the Court will look with disfavor upon a party’s

          refusal to stipulate to undisputed facts;

      2. The Court agrees that resolving the vast majority of Rule 1006 disputes pretrial is

          advisable. To that end, the FTC shall disclose its Rule 1006 exhibits by March 17,

          2025; Meta shall offer its objections and its own Rule 1006 exhibits by March 27,

          2025; and the FTC shall offer its objections by April 4, 2025. This does not preclude

          Meta in its case or the FTC in rebuttal from offering other Rule 1006 exhibits if the

          party can demonstrate a compelling reason why it was not offered pretrial; and

      3. There is no reason to set post-trial schedules at this juncture.



                                                            /s/ James E. Boasberg
                                                            JAMES E. BOASBERG
                                                            United States District Judge
Date: January 17, 2025


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